Case 8:22-ml-03052-JVS-KES      Document 753 Filed 01/29/25       Page 1 of 1 Page ID
                                     #:20598



                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          JAN 29 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
 PLAINTIFFS’ CONSUMER CLASS,                     No. 24-6938
                                                 D.C. No. 8:22-ml-03052-JVS-KES
             Plaintiff - Appellee,               Central District of California,
                                                 Santa Ana
  v.
                                                 ORDER
 HYUNDAI MOTOR COMPANY and KIA
 CORPORATION,

             Defendants - Appellees,

  v.

 BARTON CERJAK, SC,

             Movant - Appellant.

       Pursuant to the parties’ stipulation (Docket Entry No. 13), this appeal is

 dismissed. See Fed. R. App. P. 42(b).

       This order serves as the mandate of the court.


                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT
